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                     IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                        ANDERSON/GREENWOOD DIVISION

UNITED STATES OF AMERICA                  )   CRIMINAL NO.: 8:19-cr-00181-DCC (1)
                                          )
               vs.                        )
                                          )
DETRIC LEE MCGOWAN                        )
  a/k/a “Fat”                      )


               MOTION FOR PRELIMINARY ORDER OF FORFEITURE
                        AS TO DETRIC LEE MCGOWAN

       Pursuant to Fed. R. Crim. P. 32.2(b), the United States of America, by and through

its undersigned Assistant United States Attorney, Carrie Fisher Sherard, moves this Court

for the entry of a Preliminary Order of Forfeiture as to Detric Lee McGowan, (“McGowan”,

“Defendant”), based on the defendant=s conviction of conspiracy to possess with intent to

distribute controlled substances, in violation of Title 21, United States Code, Sections

841and 846; conspiracy to commit money laundering, in violation of Title 18, United

States Code, Sections 1956; attempt to kill a witness(s) in order to prevent the witness(s)

attendance and testimony in a criminal trial, in violation of Title 18, United States Code,

Sections 1512(a) and (j); and attempt to kill the prosecuting Assistant United States

Attorney, in violation of Title 18, United States Code, Sections 1513(a) and (c).

       The Government further requests that such order be entered by this Court

sufficiently in advance of sentencing to permit time for the Government and the Defendant

to suggest revisions or modifications. Fed. R. Crim. P. 32.2(b)(2)(B) (AUnless doing so is

impractical, the court must enter the preliminary order sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications before the order
                                          1
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becomes final as to the defendant under Rule 32.2(b)(4).@)



                                        Respectfully submitted,

                                        A. LANCE CRICK
                                        ACTING UNITED STATES ATTORNEY

                                        By:      s/Carrie Fisher Sherard
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January 31, 2020




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